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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
LAREDO DIVISION

UNITED STATES OF AMERICA,

VS. CIVIL ACTION NO. 5:20-CV-31

982.6894 ACRES OF LAND, MORE

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§
§
OR LESS, et al, §
§

Defendants. §
ADVISORY

The parties have filed a jointly signed Stipulation of Dismissal and Agreement
to Disburse Funds Under Federal Rule of Civil Procedure 71.14)(1)(B) (Dkt. No. 13).
Under Rule 71.1G)(1)(B), parties may dismiss a condemnation action without a court
order by filing a stipulation of dismissal “[b]efore judgment is entered vesting the
plaintiff with title or a lesser interest in or possession of the property.” A judgment
has not been entered in this case. Thus, the parties’ Stipulation is effective, and this
action is DISMISSED WITHOUT PREJUDICE. FED. R. Civ. P. 71.1@)(8). The
Clerk of Court is DIRECTED to disburse the sum remaining in the Registry of the
Court, $100.00, plus any accrued interest, to “F&A Officer, USAED, Fort
Worth” (Dkt. No. 13 at 2). The check prepared by the Clerk should reference “Tract
No. LRT-LRN-1005 et al.” (id.). The Clerk is also DIRECTED to CLOSE this case.

Afi onreie Cams,

Marina Garcia Marmolejo
United States District Judge

SIGNED this ist day of June, 2020.
